
. The Supreme Court reversed the decision of the Court below on April 4th, 1878 in the following opinion by
Gordon, J.:
Were this a writ of error to a judgment, we might hold the action of the Court, in permitting it to be entered with costs, as erroneous. The jury had nothing to do with costs ; the verdict was for less than one hundred dollars, and, unless the plaintiff’s claim was reduced by set off, in the absence of an affidavit, as required by the Act of 1810, the plaintiff was not entitled to costs. As however there is no judgment, the writ of error being only to the execution, we cannot pronounce authoratively upon this matter, but must leave it to the future action of the Cou rt below. The Court, however, in the absence of a judgment, permitted process of mandamus to issue against the School District. No doubt this was done inadvertantly; nevertheless it was error. The Act of May 8th, 1854, Section 21, P. Laws 621, authorizes this process to issue only after judgment; and, as this kind of execution depends wholly upon the statute for its validity, it is clear that the action of tha Court was premature. The order of the Court awarding the mandamus is reversed, aud the writ se t aside.
